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 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
 3

 4
                                                        No.    CR-13-2109-FVS-1
 5
     UNITED STATES OF AMERICA,                                 CR-13-2109-FVS-2
                                                               CR-13-2109-FVS-3
 6
                       Plaintiff,                              CR-13-2109-FVS-5
                                                               CR-13-2109-FVS-6
 7
                  v.
 8
                                                        ORDER DENYING "MOTION TO
                                                        DISMISS FOR VIOLATION OF
 9
     RUBEN M. TRUJILLO, RICHARD                         DUE PROCESS AND EQUAL
     GONZALEZ, SERGIO MEZA-MEDINA,                      PROTECTION”
10
     DANIEL MIMS, and RENE RODRIGUEZ,

11
                       Defendants.
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          RUBEN M. TRUJILLO moves to dismiss the Superseding Indictment on
14
     the ground the Attorney General is arbitrarily refusing, in violation
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     of the Fifth Amendment, to remove marijuana from the list of Schedule
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     I drugs.
17
          BACKGROUND
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          Marijuana has been, and continues to be, classified as a Schedule
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     I drug.    21 U.S.C. § 812(c), Schedule I(c)(10).             The existing
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     classification of marijuana is not immutable.               Congress has conferred
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     upon the Attorney General the authority to reclassify marijuana.                   21
22
     U.S.C. § 811.     To date, however, he has declined to do so.              Ruben
23
     Trujillo alleges the existing classification of marijuana is
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     arbitrary.    He alleges the Attorney General lacks a rational basis for
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     retaining marijuana on the list of Schedule I drugs.                Believing, as he
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     does, that the Attorney General is behaving in an arbitrary manner, he

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 1   moves to dismiss the indictment.          In essence, he argues the Fifth
 2   Amendment forbids the United States from prosecuting a person under
 3   the Controlled Substances Act, 21 U.S.C. § 801 et seq., unless the
 4   United States can demonstrate the drug in question has been placed on
 5   the proper schedule.
 6          RULING
 7          “'Federal courts are courts of limited jurisdiction,' possessing
 8   'only that power authorized by Constitution and statute.'”                 Gunn v.
 9   Minton, 568 U.S. ––––, ––––, 133 S.Ct. 1059, 1064, 185 L.Ed.2d 72
10   (2013) (quoting Kokkonen v. Guardian Life Ins. Co. of America, 511
11   U.S. 375, 377, 114 S.Ct. 1673, 128 L.Ed.2d 391 (1994)).                 This Court
12   may adjudicate only those legal disputes Congress has authorized it to
13   adjudicate.       See Veterans for Common Sense v. Shinseki, 678 F.3d 1013,
14   1019 (9th Cir.2012) (en banc).          Mr. Trujillo urges the Court to review
15   the Attorney General's refusal to reschedule marijuana.                 Before
16   accepting his request, the Court must decide whether Congress has
17   authorized it to review decisions of the type challenged by Mr.
18   Trujillo.       Cf. Grupo Dataflux v. Atlas Global Grp., L.P., 541 U.S.
19   567, 593, 124 S.Ct. 1920, 158 L.Ed.2d 866 (2004) (“by whatever route a
20   case arrives in federal court, it is the obligation of both district
21   court and counsel to be alert to jurisdictional requirements”).
22          Congress has decided to allow review of “[a]ll final
23   determinations, findings, and conclusions of the Attorney General
24   under [subchapter I of the Controlled Substances Act].”                 21 U.S.C. §
25   877.   As the Supreme Court observed in Touby v. United States, 500
26   U.S. 160, 168, 111 S.Ct. 1752, 114 L.Ed.2d 219 (1991), § 877 "plainly


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 1   authorizes judicial review of a permanent scheduling order."                However,
 2   § 877 also provides that a person who is challenging a final decision
 3   of the Attorney General must bring the challenge "in the United States
 4   Court of Appeals for the District of Columbia or for the circuit in
 5   which [the person's] principal place of business is located . . . .”
 6   Id.   If Mr. Trujillo's challenge is governed by § 877, then this Court
 7   lacks authority to adjudicate it.         He must bring the challenge in
 8   another court.
 9         The Ninth Circuit discussed § 877 in United States v. Forrester,
10   616 F.3d 929 (9th Cir.2010).       There, the defendant challenged a
11   permanent scheduling order that listed the drug “ecstasy” as a
12   Schedule I drug.    616 F.3d at 935.       The Ninth Circuit distinguished
13   temporary scheduling orders and permanent scheduling orders.                616 F.3d
14   at 636.   The latter are governed by § 877.              616 F.3d at 636-37.      That
15   being the case, said the circuit court, “substantive collateral
16   attacks on permanent scheduling orders are impermissible in criminal
17   cases . . . .”     Id. at 937.    The Forrester court gave several reasons
18   for its ruling.    To begin with, scheduling decisions are complex.                616
19   F.3d at 936 (citing United States v. Carlson, 87 F.3d 440, 446 (11th
20   Cir.1996).   In addition, the agency that made the decision is not a
21   party to the action.      Id. (citing Carlson, 87 F.3d at 446).            Finally,
22   "to allow all criminal defendants to collaterally attack a permanent
23   scheduling order based on their view that a particular drug has been
24   mis-scheduled would potentially place a continuing, onerous burden on
25   district courts to constantly re-litigate the same issue."                Id.
26         The considerations cited by the Ninth Circuit in Forrester apply


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 1   with equal force to the type of challenge Mr. Trujillo would like to
 2   bring in this action.      There is no reason to treat his type of
 3   challenge differently than an attack upon a permanent scheduling
 4   order.   As a result, the Court concludes the type of challenge Mr.
 5   Trujillo is attempting to bring is subject to the limitations imposed
 6   by § 877.    He may not use this case as a vehicle for challenging the
 7   Attorney General's refusal to remove marijuana from the list of
 8   Schedule I drugs.     The Court lacks authority to adjudicate his
 9   challenge.
10        IT IS HEREBY ORDERED:
11        Ruben Trujillo's "Motion to Dismiss for Violation of Due Process
12   and Equal Protection" (ECF No. 282) is denied.
13        IT IS SO ORDERED.      The District Court Executive is hereby
14   directed to enter this order and furnish copies to counsel.
15        DATED this     25th      day of July, 2014.
16
                                s/ Fred Van Sickle
17                                 Fred Van Sickle
                         Senior United States District Judge
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